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10
                               UNITED STATES DISTRICT COURT
11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,               No. CR 15-00474-PSG-1
13
                  Plaintiff,                 PLEA AGREEMENT FOR DEFENDANT
14                                           LORI RENEE MILLER
                        v.
15
     LORI RENEE MILLER,
16
                  Defendant.
17

18         1.      This constitutes the plea agreement between LORI RENEE
19   MILLER (“defendant”) and the United States Attorney’s Office for the
20   Central District of California (“the USAO”) in the above-captioned
21   case.      This agreement is limited to the USAO and cannot bind any
22   other federal, state, local, or foreign prosecuting, enforcement,
23   administrative, or regulatory authorities.
24                               DEFENDANT’S OBLIGATIONS
25         2.      Defendant agrees to:
26                 a.   At the earliest opportunity requested by the USAO and
27   provided by the Court, appear and plead guilty to count twenty-seven
28   of the indictment in United States v. Lori Renee Miller, et al., CR
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 1   No. 15-00474-PSG, which charges defendant with Health Care Fraud in

 2   violation of 18 U.S.C. § 1347.

 3               b.    Not contest facts agreed to in this agreement.

 4               c.    Abide by all agreements regarding sentencing

 5   contained in this agreement.

 6               d.    Appear for all court appearances, surrender as

 7   ordered for service of sentence, obey all conditions of any bond,

 8   and obey any other ongoing court order in this matter.

 9               e.    Not commit any crime; however, offenses that would be

10   excluded for sentencing purposes under United States Sentencing

11   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are

12   not within the scope of this agreement.

13               f.    Be truthful at all times with Pretrial Services, the

14   United States Probation Office, and the Court.

15               g.    Pay the applicable special assessment at or before

16   the time of sentencing unless defendant lacks the ability to pay and

17   prior to sentencing submits a completed financial statement on a

18   form to be provided by the USAO.

19               h.    Make restitution in accordance with the Court’s

20   order, and not seek the discharge of any restitution obligation, in

21   whole or in part, in any present or future bankruptcy proceeding.

22               i.    Defendant understands and acknowledges that as a

23   result of pleading guilty pursuant to this agreement, defendant will

24   be excluded from Medicare, Medicaid, and all Federal health care

25   programs.    Defendant agrees to complete and execute all necessary

26   documents provided by the United States Department of Health and

27   Human Services, or any other department or agency of the federal

28   government, to effectuate this exclusion within 60 days of receiving

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 1   the documents.     This exclusion will not affect defendant’s right to

 2   apply for and receive benefits as a beneficiary under any Federal

 3   health care program, including Medicare and Medicaid.

 4         3.    Defendant further agrees to cooperate fully with the USAO,

 5   the California Department of Justice, Bureau of Medi-Cal Fraud and

 6   Elder Abuse, the United States Department of Health and Human

 7   Services, Office of Inspector General, and the Internal Revenue

 8   Service – Criminal Investigation, and, as directed by the USAO, any

 9   other federal, state, local, or foreign prosecuting, enforcement,

10   administrative, or regulatory authority.         This cooperation requires

11   defendant to:

12               a.    Respond truthfully and completely to all questions

13   that may be put to defendant, whether in interviews, before a grand

14   jury, or at any trial or other court proceeding.

15               b.    Attend all meetings, grand jury sessions, trials or

16   other proceedings at which defendant’s presence is requested by the

17   USAO or compelled by subpoena or court order.

18               c.    Produce voluntarily all documents, records, or other

19   tangible evidence relating to matters about which the USAO, or its

20   designee, inquires.

21         4.    For purposes of this agreement: (1) “Cooperation

22   Information” shall mean any statements made, or documents, records,

23   tangible evidence, or other information provided, by defendant

24   pursuant to defendant’s cooperation under this agreement or pursuant

25   to the letter agreement previously entered into by the parties dated

26   March 18, 2016; and (2) “Plea Information” shall mean any statements

27   made by defendant, under oath, at the guilty plea hearing and the

28   agreed to factual basis statement in this agreement.

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 1                              THE USAO’S OBLIGATIONS

 2         5.    The USAO agrees to:

 3               a.    Not contest facts agreed to in this agreement.

 4               b.    Abide by all agreements regarding sentencing

 5   contained in this agreement.

 6               c.    At the time of sentencing, move to dismiss the

 7   remaining counts of the indictment as against defendant.            Defendant

 8   agrees, however, that at the time of sentencing the Court may

 9   consider any dismissed charges in determining the applicable

10   Sentencing Guidelines range, the propriety and extent of any

11   departure from that range, and the sentence to be imposed.

12               d.    At the time of sentencing, provided that defendant

13   demonstrates an acceptance of responsibility for the offense up to

14   and including the time of sentencing, recommend a two-level

15   reduction in the applicable Sentencing Guidelines offense level,

16   pursuant to U.S.S.G. § 3E1.1, and recommend and, if necessary, move

17   for an additional one-level reduction if available under that

18   section.

19               e.    Recommend that the Court vary downward in offense

20   level by an additional three levels based on the factors set forth

21   in 18 U.S.C. § 3553(a)(1), (a)(2), (a)(3), (a)(6), and (a)(7),

22   including, specifically, the history and characteristics of

23   defendant.

24               f.    Recommend that defendant be sentenced to a term of

25   imprisonment no higher than the low end of the applicable Sentencing

26   Guidelines range, provided that the offense level used by the Court

27   to determine that range is 29 or higher.         For purposes of this

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 1   agreement, the low end of the Sentencing Guidelines range is that

 2   defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A.

 3         6.    The USAO further agrees:

 4               a.    Not to offer as evidence in its case-in-chief in the

 5   above-captioned case or any other criminal prosecution that may be

 6   brought against defendant by the USAO, or in connection with any

 7   sentencing proceeding in any criminal case that may be brought

 8   against defendant by the USAO, any Cooperation Information.

 9   Defendant agrees, however, that the USAO may use both Cooperation

10   Information and Plea Information: (1) to obtain and pursue leads to

11   other evidence, which evidence may be used for any purpose,

12   including any criminal prosecution of defendant; (2) to cross-

13   examine defendant should defendant testify, or to rebut any evidence

14   offered, or argument or representation made, by defendant,

15   defendant’s counsel, or a witness called by defendant in any trial,

16   sentencing hearing, or other court proceeding; and (3) in any

17   criminal prosecution of defendant for false statement, obstruction

18   of justice, or perjury.

19               b.    Not to use Cooperation Information against defendant

20   at sentencing for the purpose of determining the applicable

21   guideline range, including the appropriateness of an upward

22   departure, or the sentence to be imposed, and to recommend to the

23   Court that Cooperation Information not be used in determining the

24   applicable guideline range or the sentence to be imposed.            Defendant

25   understands, however, that Cooperation Information will be disclosed

26   to the probation office and the Court, and that the Court may use

27   Cooperation Information for the purposes set forth in U.S.S.G

28   § 1B1.8(b) and for determining the sentence to be imposed.

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 1               c.    In connection with defendant’s sentencing, to bring

 2   to the Court’s attention the nature and extent of defendant’s

 3   cooperation.

 4               d.    If the USAO determines, in its exclusive judgment,

 5   that defendant has both complied with defendant’s obligations under

 6   paragraphs 2 and 3 above and provided substantial assistance to law

 7   enforcement in the prosecution or investigation of another

 8   (“substantial assistance”), to move the Court pursuant to U.S.S.G.

 9   § 5K1.1 to fix an offense level and corresponding guideline range

10   below that otherwise dictated by the sentencing guidelines, and to

11   recommend a term of imprisonment within this reduced range.

12               DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

13         7.    Defendant understands the following:

14               a.    Any knowingly false or misleading statement by

15   defendant will subject defendant to prosecution for false statement,

16   obstruction of justice, and perjury and will constitute a breach by

17   defendant of this agreement.

18               b.    Nothing in this agreement requires the USAO or any

19   other prosecuting, enforcement, administrative, or regulatory

20   authority to accept any cooperation or assistance that defendant may

21   offer, or to use it in any particular way.

22               c.    Defendant cannot withdraw defendant’s guilty plea if

23   the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a

24   reduced guideline range or if the USAO makes such a motion and the

25   Court does not grant it or if the Court grants such a USAO motion

26   but elects to sentence above the reduced range.

27               d.    At this time the USAO makes no agreement or

28   representation as to whether any cooperation that defendant has

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 1   provided or intends to provide constitutes or will constitute

 2   substantial assistance.      The decision whether defendant has provided

 3   substantial assistance will rest solely within the exclusive

 4   judgment of the USAO.

 5               e.    The USAO’s determination whether defendant has

 6   provided substantial assistance will not depend in any way on

 7   whether the government prevails at any trial or court hearing in

 8   which defendant testifies or in which the government otherwise

 9   presents information resulting from defendant’s cooperation.

10                               NATURE OF THE OFFENSE

11         8.    Defendant understands that for defendant to be guilty of

12   the crime charged in count twenty-seven, that is, Health Care Fraud,

13   in violation of Title 18, United States Code, Section 1347, the

14   following must be true: (1) defendant knowingly and willfully

15   participated in or devised a scheme or plan to defraud a health care

16   benefit program; (2) the statements made or facts omitted as part of

17   the scheme were material; (3) defendant acted with intent to

18   defraud; and (4) the scheme involved the delivery of or payment for

19   health care benefits, items, or services.         The term “health care

20   benefit program” means any public or private plan or contract,

21   affecting commerce, under which any medical benefit, item, or

22   service is provided to any individual, and includes any individual

23   or entity who is providing a medical benefit, item, or service for

24   which payment may be made under the plan or contract.           “Willfully”

25   means that the defendant committed the act voluntarily and

26   purposefully, and with knowledge that the conduct was, in a general

27   sense, unlawful.

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 1                             PENALTIES AND RESTITUTION

 2         9.    Defendant understands that the statutory maximum sentence

 3   that the Court can impose for a violation of Title 18, United States

 4   Code, Section 1347, is: ten years’ imprisonment; a three-year period

 5   of supervised release; a fine of $250,000 or twice the gross gain or

 6   gross loss resulting from the offense, whichever is greatest; and a

 7   mandatory special assessment of $100.

 8         10.   Defendant understands that supervised release is a period

 9   of time following imprisonment during which defendant will be

10   subject to various restrictions and requirements.           Defendant

11   understands that if defendant violates one or more of the conditions

12   of any supervised release imposed, defendant may be returned to

13   prison for all or part of the term of supervised release authorized

14   by statute for the offense that resulted in the term of supervised

15   release, which could result in defendant serving a total term of

16   imprisonment greater than the statutory maximum stated above.

17         11.   Defendant understands that defendant will be required to

18   pay full restitution to the victim of the offense to which defendant

19   is pleading guilty.      Defendant agrees that, in return for the USAO’s

20   compliance with its obligations under this agreement, the Court may

21   order restitution to persons other than the victim of the offense to

22   which defendant is pleading guilty and in amounts greater than those

23   alleged in the count to which defendant is pleading guilty.             In

24   particular, defendant agrees that the Court may order restitution to

25   any victim of any of the following for any losses suffered by that

26   victim as a result: (a) any relevant conduct, as defined in U.S.S.G.

27   § 1B1.3, in connection with the offense to which defendant is

28   pleading guilty; and (b) any counts dismissed pursuant to this

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 1   agreement as well as all relevant conduct, as defined in U.S.S.G.

 2   § 1B1.3, in connection with those counts.         The government currently

 3   believes that the applicable amount of restitution is approximately

 4   $46,970,519, but the parties recognize and agree that this amount

 5   could change based on facts that come to the attention of the

 6   parties prior to sentencing.

 7         12.   Defendant understands that, by pleading guilty, defendant

 8   may be giving up valuable government benefits and valuable civic

 9   rights, such as the right to vote, the right to possess a firearm,

10   the right to hold office, and the right to serve on a jury.

11   Defendant understands that once the Court accepts defendant’s guilty

12   plea, it will be a federal felony for defendant to possess a firearm

13   or ammunition.     Defendant understands that the conviction in this

14   case may also subject defendant to various other collateral

15   consequences, including but not limited to mandatory exclusion from

16   providing services paid for under federal health care benefit

17   programs for a minimum of five years, suspension or revocation of a

18   professional license, and revocation of probation, parole, or

19   supervised release in another case.         Defendant understands that

20   unanticipated collateral consequences will not serve as grounds to

21   withdraw defendant’s guilty plea.

22         13.   Defendant understands that, if defendant is not a United

23   States citizen, the felony conviction in this case may subject

24   defendant to: removal, also known as deportation, which may, under

25   some circumstances, be mandatory; denial of citizenship; and denial

26   of admission to the United States in the future.          The Court cannot,

27   and defendant’s attorney also may not be able to, advise defendant

28   fully regarding the immigration consequences of the felony

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 1    conviction in this case.      Defendant understands that unexpected

 2    immigration consequences will not serve as grounds to withdraw

 3    defendant’s guilty plea.

 4                                    FACTUAL BASIS

 5         14.   Defendant admits that defendant is, in fact, guilty of the

 6    offense to which defendant is agreeing to plead guilty.           Defendant

 7    and the USAO agree to the statement of facts provided below and

 8    agree that this statement of facts is sufficient to support a plea

 9    of guilty to the charge described in this agreement and to establish

10    the Sentencing Guidelines factors set forth in paragraph 16 below

11    but is not meant to be a complete recitation of all facts relevant

12    to the underlying criminal conduct or all facts known to either

13    party that relate to that conduct.

14         In or about April 2000, defendant was hired as a substance

15    abuse recovery counselor by Atlantic Recovery Services, later called

16    Atlantic Health Services (“ARS”).       In or about April 2001, defendant

17    was promoted to the position of manager, and in or about April 2003,

18    defendant was promoted to the position of Program Manager.

19    Defendant was employed as the Program Manager of ARS from in or

20    about April 2003 until mid-April 2013.        As the Program Manager,

21    defendant supervised all ARS counselors and managers.

22         ARS purported to provide substance abuse treatment services to

23    students covered by Medi-Cal, a publicly funded health care benefit

24    program, affecting commerce, that provided coverage for medically

25    necessary services to income-eligible individuals in California.

26         During the time that defendant worked at ARS, defendant

27    knowingly and willfully participated in a scheme to defraud Medi-Cal

28    in which (1) ARS billed Medi-Cal’s Drug Medi-Cal program for

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 1    services to students who did not medically need alcohol or drug

 2    treatment; (2) ARS billed Drug Medi-Cal for group and individual

 3    counseling sessions that were not provided or did not meet the

 4    requirements for reimbursement; and (3) defendant and others

 5    falsified documentation to support the false claims.

 6         Defendant knowingly authorized and approved the following

 7    conduct by the ARS counselors and managers:

 8               a.    maintaining student caseloads by enrolling students

 9    in the ARS substance abuse counseling program even if they had used

10    drugs or alcohol only occasionally or even just once;

11               b.    collecting students’ signatures on sign-in sheets for

12    counseling sessions, even if the students did not attend the

13    counseling sessions;

14               c.    recording times on sign-in sheets, Update Logs, and

15    Progress Notes to make it appear that the students on each sign-in

16    sheet were attending group counseling sessions at different times

17    with no more than ten students at the same time;

18               d.    preparing Progress Notes and Update Logs that falsely

19    showed that the students in the counselors and managers’ caseloads

20    had attended 90-minute group counseling sessions up to five days

21    each week, even though defendant knew that the ARS counselors and

22    managers were not meeting with students every day;

23               e.    giving students who were absent a worksheet to

24    complete and then submitting false documentation reflecting that the

25    students had attended group counseling sessions that they had not

26    actually attended;

27               f.    having a one-on-one crisis session with every student

28    twice a month, even though defendant knew that a crisis session was

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 1    supposed to happen only when a student had a relapse or an “imminent

 2    threat” of relapse and could not be planned in advance; and

 3                g.   billing for services conducted at unlicensed sites as

 4    if they had occurred at licensed sites to ensure payment from Medi-

 5    Cal.

 6           Defendant knew that ARS would use the false Update Logs to

 7    generate claims for Medi-Cal reimbursement for group and individual

 8    counseling sessions and that the Progress Notes and falsified sign-

 9    in sheets would be maintained in the students’ files as

10    documentation supporting those claims in the event of a Medi-Cal

11    audit.

12           Defendant told ARS counselors and managers to “be creative”

13    when it came to billing for substance abuse counseling services and

14    warned them that they would lose their jobs or have their hours

15    reduced to part-time if they did not generate sufficient billing.

16           Defendant told Dr. Leland Whitson, the Medical Director of ARS,

17    not to date the treatment plans he reviewed so that defendant or

18    another ARS employee acting at defendant’s direction could fill in a

19    date that would make it appear as if the treatment plans had been

20    prepared in compliance with Medi-Cal’s regulatory requirements as to

21    timing.

22           In furtherance of the scheme, defendant knowingly and willfully

23    caused false and fraudulent claims, which she knew to be material to

24    payment by Medi-Cal, to be submitted to the Drug Medi-Cal program by

25    ARS, including, in particular, the following claim:

26           In or about January 2012, ARS submitted a false and fraudulent

27    claim for Medi-Cal reimbursement (Drug Medi-Cal claim #AXXXXXXXX),

28    in the amount of $69.59 for an individual counseling (crisis)

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 1    session for Harding student E.R. allegedly provided by co-defendant

 2    Maribel Navarro on December 5, 2011, a day when the student also

 3    purportedly attended a group counseling session with his regular

 4    counselor, would not have needed to attend an individual counseling

 5    session with defendant Navarro, and, to the best of his

 6    recollection, did not attend an individual counseling session with

 7    defendant Navarro and did not make the statements identified in the

 8    Progress Note.

 9         ARS submitted to the Drug Medi-Cal program claims totaling

10    approximately $50,822,318 for counseling services purportedly

11    provided by ARS counselors and managers acting at defendant’s

12    direction, and Medi-Cal paid approximately $46,970,519 on those

13    claims.

14                                 SENTENCING FACTORS

15         15.   Defendant understands that in determining defendant’s

16    sentence the Court is required to calculate the applicable

17    Sentencing Guidelines range and to consider that range, possible

18    departures under the Sentencing Guidelines, and the other sentencing

19    factors set forth in 18 U.S.C. § 3553(a).         Defendant understands

20    that the Sentencing Guidelines are advisory only, that defendant

21    cannot have any expectation of receiving a sentence within the

22    calculated Sentencing Guidelines range, and that after considering

23    the Sentencing Guidelines and the other § 3553(a) factors, the Court

24    will be free to exercise its discretion to impose any sentence it

25    finds appropriate up to the maximum set by statute for the crime of

26    conviction.

27         16.   Defendant and the USAO agree to the following applicable

28    Sentencing Guidelines factors:

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 1
           Base Offense Level:              6       [U.S.S.G. § 2B1.1(a)(2)]
 2
           Specific Offense
 3         Characteristics

 4         Loss of more than
           $25,000,000 but not
 5         more than $65,000,000:         +22     [U.S.S.G. § 2B1.1(b)(1)(L)]

 6         Federal health care
           offense involving
 7         Government health
           care program:                   +4     [U.S.S.G. § 2B1.1(b)(7)(iii)]
 8
           Aggravating Role
 9
           (Manager or Supervisor):        +3             [U.S.S.G. § 3B1.1(b)]
10

11    Defendant and the USAO reserve the right to argue that additional
12    specific offense characteristics, adjustments, and departures under
13    the Sentencing Guidelines are appropriate.
14         17.   Defendant understands that there is no agreement as to
15    defendant’s criminal history or criminal history category.
16         18.   Defendant and the USAO reserve the right to argue for a
17    sentence outside the sentencing range established by the Sentencing
18    Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
19    (a)(2), (a)(3), (a)(6), and (a)(7).
20                          WAIVER OF CONSTITUTIONAL RIGHTS
21         19.   Defendant understands that by pleading guilty, defendant
22    gives up the following rights:
23               a.    The right to persist in a plea of not guilty.
24               b.    The right to a speedy and public trial by jury.
25               c.    The right to be represented by counsel – and if
26    necessary have the Court appoint counsel - at trial.           Defendant
27    understands, however, that, defendant retains the right to be
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 1    represented by counsel – and if necessary have the Court appoint

 2    counsel – at every other stage of the proceeding.

 3               d.     The right to be presumed innocent and to have the

 4    burden of proof placed on the government to prove defendant guilty

 5    beyond a reasonable doubt.

 6               e.     The right to confront and cross-examine witnesses

 7    against defendant.

 8               f.     The right to testify and to present evidence in

 9    opposition to the charges, including the right to compel the

10    attendance of witnesses to testify.

11               g.     The right not to be compelled to testify, and, if

12    defendant chose not to testify or present evidence, to have that

13    choice not be used against defendant.

14               h.     Any and all rights to pursue any affirmative

15    defenses, Fourth Amendment or Fifth Amendment claims, and other

16    pretrial motions that have been filed or could be filed.

17                          WAIVER OF APPEAL OF CONVICTION

18         20.   Defendant understands that, with the exception of an

19    appeal based on a claim that defendant’s guilty plea was

20    involuntary, by pleading guilty defendant is waiving and giving up

21    any right to appeal defendant’s conviction on the offense to which

22    defendant is pleading guilty.

23                    LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

24         21.   Defendant agrees that, provided the Court imposes a total

25    term of imprisonment on the count of conviction of no more than 87

26    months, defendant gives up the right to appeal all of the following:

27    (a) the procedures and calculations used to determine and impose any

28    portion of the sentence; (b) the term of imprisonment imposed by the

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 1    Court; (c) the fine imposed by the Court, provided it is within the

 2    statutory maximum; (d) the amount and terms of any restitution

 3    order, provided it requires payment of no more than $46,970,519;

 4    (e) the term of probation or supervised release imposed by the

 5    Court, provided it is within the statutory maximum; and (f) any of

 6    the following conditions of probation or supervised release imposed

 7    by the Court: the conditions set forth in General Orders 318, 01-05,

 8    and/or 05-02 of this Court; the drug testing conditions mandated by

 9    18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and drug use

10    conditions authorized by 18 U.S.C. § 3563(b)(7).

11         22.   The USAO agrees that, provided (a) all portions of the

12    sentence are at or below the statutory maximum specified above and

13    (b) the Court imposes a term of imprisonment of no less than 87

14    months, the USAO gives up its right to appeal any portion of the

15    sentence, with the exception that the USAO reserves the right to

16    appeal the following:     the amount of restitution ordered if that

17    amount is less than $46,970,519.

18                       RESULT OF WITHDRAWAL OF GUILTY PLEA

19         23.   Defendant agrees that if, after entering a guilty plea

20    pursuant to this agreement, defendant seeks to withdraw and succeeds

21    in withdrawing defendant’s guilty plea on any basis other than a

22    claim and finding that entry into this plea agreement was

23    involuntary, then (a) the USAO will be relieved of all of its

24    obligations under this agreement, including in particular its

25    obligations regarding the use of Cooperation Information; (b) in any

26    investigation, criminal prosecution, or civil, administrative, or

27    regulatory action, defendant agrees that any Cooperation Information

28    and any evidence derived from any Cooperation Information shall be

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 1    admissible against defendant, and defendant will not assert, and

 2    hereby waives and gives up, any claim under the United States

 3    Constitution, any statute, or any federal rule, that any Cooperation

 4    Information or any evidence derived from any Cooperation Information

 5    should be suppressed or is inadmissible; and (c) should the USAO

 6    choose to pursue any charge that was either dismissed or not filed

 7    as a result of this agreement, then (i) any applicable statute of

 8    limitations will be tolled between the date of defendant’s signing

 9    of this agreement and the filing commencing any such action; and

10    (ii) defendant waives and gives up all defenses based on the statute

11    of limitations, any claim of pre-indictment delay, or any speedy

12    trial claim with respect to any such action, except to the extent

13    that such defenses existed as of the date of defendant’s signing

14    this agreement.

15                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE

16         24.   Defendant agrees that if the count of conviction is

17    vacated, reversed, or set aside, both the USAO and defendant will be

18    released from all their obligations under this agreement.

19                            EFFECTIVE DATE OF AGREEMENT

20         25.   This agreement is effective upon signature and execution

21    of all required certifications by defendant, defendant’s counsel,

22    and an Assistant United States Attorney.

23                                 BREACH OF AGREEMENT

24         26.   Defendant agrees that if defendant, at any time after the

25    effective date of this agreement, knowingly violates or fails to

26    perform any of defendant’s obligations under this agreement (“a

27    breach”), the USAO may declare this agreement breached.           For

28    example, if defendant knowingly, in an interview, before a grand

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 1    jury, or at trial, falsely accuses another person of criminal

 2    conduct or falsely minimizes defendant’s own role, or the role of

 3    another, in criminal conduct, defendant will have breached this

 4    agreement.    All of defendant’s obligations are material, a single

 5    breach of this agreement is sufficient for the USAO to declare a

 6    breach, and defendant shall not be deemed to have cured a breach

 7    without the express agreement of the USAO in writing.           If the USAO

 8    declares this agreement breached, and the Court finds such a breach

 9    to have occurred, then:

10               a.    If defendant has previously entered a guilty plea

11    pursuant to this agreement, defendant will not be able to withdraw

12    the guilty plea.

13               b.    The USAO will be relieved of all its obligations

14    under this agreement; in particular, the USAO: (i) will no longer be

15    bound by any agreements concerning sentencing and will be free to

16    seek any sentence up to the statutory maximum for the crime to which

17    defendant has pleaded guilty; (ii) will no longer be bound by any

18    agreements regarding criminal prosecution, and will be free to

19    criminally prosecute defendant for any crime, including charges that

20    the USAO would otherwise have been obligated to dismiss pursuant to

21    this agreement; and (iii) will no longer be bound by any agreement

22    regarding the use of Cooperation Information and will be free to use

23    any Cooperation Information in any way in any investigation,

24    criminal prosecution, or civil, administrative, or regulatory

25    action.

26               c.    The USAO will be free to criminally prosecute

27    defendant for false statement, obstruction of justice, and perjury

28    based on any knowingly false or misleading statement by defendant.

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 1               d.    In any investigation, criminal prosecution, or civil,

 2    administrative, or regulatory action: (i) defendant will not assert,

 3    and hereby waives and gives up, any claim that any Cooperation

 4    Information was obtained in violation of the Fifth Amendment

 5    privilege against compelled self-incrimination; and (ii) defendant

 6    agrees that any Cooperation Information and any Plea Information, as

 7    well as any evidence derived from any Cooperation Information or any

 8    Plea Information, shall be admissible against defendant, and

 9    defendant will not assert, and hereby waives and gives up, any claim

10    under the United States Constitution, any statute, Rule 410 of the

11    Federal Rules of Evidence, Rule 11(f) of the Federal Rules of

12    Criminal Procedure, or any other federal rule, that any Cooperation

13    Information, any Plea Information, or any evidence derived from any

14    Cooperation Information or any Plea Information should be suppressed

15    or is inadmissible.

16         27.   Following the Court’s finding of a knowing breach of this

17    agreement by defendant, should the USAO choose to pursue any charge

18    that was either dismissed or not filed as a result of this

19    agreement, then:

20               a.    Defendant agrees that any applicable statute of

21    limitations is tolled between the date of defendant’s signing of

22    this agreement and the filing commencing any such action.

23               b.    Defendant waives and gives up all defenses based on

24    the statute of limitations, any claim of pre-indictment delay, or

25    any speedy trial claim with respect to any such action, except to

26    the extent that such defenses existed as of the date of defendant’s

27    signing this agreement.

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 1                     COURT AND PROBATION OFFICE NOT PARTIES

 2         28.   Defendant understands that the Court and the United States

 3    Probation Office are not parties to this agreement and need not

 4    accept any of the USAO’s sentencing recommendations or the parties’

 5    agreements to facts or sentencing factors.

 6         29.   Defendant understands that both defendant and the USAO are

 7    free to: (a) supplement the facts by supplying relevant information

 8    to the United States Probation Office and the Court, (b) correct any

 9    and all factual misstatements relating to the Court’s Sentencing

10    Guidelines calculations and determination of sentence, and (c) argue

11    on appeal and collateral review that the Court’s Sentencing

12    Guidelines calculations and the sentence it chooses to impose are

13    not error, although each party agrees to maintain its view that the

14    calculations in paragraph 16 are consistent with the facts of this

15    case.   While this paragraph permits both the USAO and defendant to

16    submit full and complete factual information to the United States

17    Probation Office and the Court, even if that factual information may

18    be viewed as inconsistent with the facts agreed to in this

19    agreement, this paragraph does not affect defendant’s and the USAO’s

20    obligations not to contest the facts agreed to in this agreement.

21         30.   Defendant understands that even if the Court ignores any

22    sentencing recommendation, finds facts or reaches conclusions

23    different from those agreed to, and/or imposes any sentence up to

24    the maximum established by statute, defendant cannot, for that

25    reason, withdraw defendant’s guilty plea, and defendant will remain

26    bound to fulfill all defendant’s obligations under this agreement.

27    Defendant understands that no one –- not the prosecutor, defendant’s

28    attorney, or the Court –- can make a binding prediction or promise

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 1    regarding the sentence defendant will receive, except that it will

 2    be within the statutory maximum.

 3                              NO ADDITIONAL AGREEMENTS

 4          31.   Defendant understands that, except as set forth herein,

 5    there are no promises, understandings, or agreements between the

 6    USAO and defendant or defendant’s attorney, and that no additional

 7    promise, understanding, or agreement may be entered into unless in a

 8    writing signed by all parties or on the record in court.

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